CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?911096055267666-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:18-cr-00098-SCJ-LTW
                                                       USA v. Bickers
                                                  Honorable Steve C. Jones

                                Minute Sheet for proceedings held In Open Court on 03/14/2022.


              TIME COURT COMMENCED: 9:45 A.M.
              TIME COURT CONCLUDED: 5:15 P.M.                     COURT REPORTER: Viola Zborowski
              TIME IN COURT: 6:30                                 DEPUTY CLERK: Pamela Wright
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Mitzi Bickers Present at proceedings
         ATTORNEY(S)                Jeffrey Davis representing USA
         PRESENT:                   Tiffany Dillingham representing USA
                                    Drew Findling representing Mitzi Bickers
                                    Marissa Goldberg representing Mitzi Bickers
                                    Zachary Kelehear representing Mitzi Bickers
                                    Nathan Kitchens representing USA
         PROCEEDING
                                    Jury Trial Continued;
         CATEGORY:
         MINUTE TEXT:               Government's case continued. Sharon Patterson sworn and testified.
                                    Government's exhibits 26UU-1, 26UU-2, 26QQ-1, 26UU-3, 26UU-4,
                                    26UU-5, 26UU-6, 78 admitted. Shedreka Poole sworn and testified.
                                    Government's exhibits 15R, 26H-1, 26I-1, 26K-1 admitted. Adrienne
                                    Richardson sworn and testified. Government's exhibits 203, 204, 200, 201
                                    admitted. Rita Braswell sworn and testified. Government's exhibits 43,
                                    86-90, 93-107, 212 admitted. Gail Hanscom sworn and testified.
                                    Government's exhibits 43B, 114-117 admitted.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at 9:30 AM
                                    on 3/15/2022. Jurors excused until the above time under the usual caution
                                    of the Court.
         TRIAL STATUS:              Evidence Entered, Continued




1 of 1                                                                                                             3/16/2022, 10:33 AM
